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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                                    Case No. 20-22106-cv-DPG
 FLORIDA FAIR HOUSING ALLIANCE, INC.,

                 Plaintiff,

 v.

 DEERPATH ON THE LAKE, LLC,

              Defendant.
 ____________________________________/
                                CERTIFICATE OF INTERESTED PERSONS
                              and CORPORATE DISCLOSURE STATEMENT

         Defendants, DEERPATH ON THE LAKE LLC, through undersigned counsel hereby files

 this Certificate of Interested Persons and Corporate Disclosure Statement which lists the persons,

 associated persons, firms, partnerships or corporations that have a financial interest in the outcome

 of this case:

 A.      The name of each person, attorney, association of persons, firm, law firm,
         partnership, and corporation that has or may have an interest in the outcome of this
         action including subsidiaries, conglomerates, affiliates, parent corporation, publicly-
         traded companies that own 10% or more of a party's stock, and all other identifiable
         legal entities related to any party in the case:

         1.        Plaintiff Fair Housing Alliance, Inc.

         2.        Ryan Turizo

         3.        Plaintiff’s counsel, Jibrael S. Hindi, Esq.

         4.        Deerpath on the Lake LLC

         5.        J.R.D. Management, Corp.

         6.        Maxx Deerpath LLC.

         7.        Defendants’ counsel, Langbein & Langbein, P.A.

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 B.     The name of every other entity whose publicly-traded stock, equity, or debt may be
        substantially affected by the outcome of the proceedings:

        None known.

 C.     The name of every other entity which is likely to be an active participant in the
        proceedings, including the debtor and members of the creditors' committee (or
        twenty largest unsecured creditors) in bankruptcy cases:

        .Hanover Insurance, carrier for JRD Management LLC

 D.     The name of each victim (individual or corporate) of civil and criminal conduct
        alleged to be wronged including every person who may be entitled to restitution:

        Plaintiff per the allegations of its Complaint.

         I hereby certify that I am unaware of any actual or potential conflict of interest involving
 the district judge and magistrate judge assigned to this case, and will immediately notify the Court
 in writing on learning of any such conflict.

        Date June 30, 2020.

                                       Respectfully Submitted,

                                       LANGBEIN & LANGBEIN, P.A.
                                       Counsel for the Defendants
                                       7480 Fairway Drive, Suite 209
                                       Miami Lakes, FL 33014
                                       Tel: (305) 556-3663
                                       Fax: (305) 556-3647
                                       Email: langbeinpa@bellsouth.net

                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing was filed electronically on June 30,
 2020 through CM/ECF and that a copy of the foregoing will be served via notification through
 CM/ECF on all counsel or parties of record on the attached service list:

                                               By:   /s/ Leslie W. Langbein
                                                       Leslie W. Langbein, Esq.
                                                       Fla. Bar No. 305391




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